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                                                          March 1, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       We write on behalf of our client, Ghislaine Maxwell, to respectfully request a 10-day
extension of time until Monday, March 15, 2021 to file our reply to the Government’s Omnibus
Memorandum in Opposition to the Defendant’s Pre-trial Motions. We have conferred with the
government, which has consented to the requested extension.

        The requested extension is necessary because the government filed a lengthy response that
included multiple exhibits and produced additional discovery that pertains to the motion response,
all of which we will need time to review, analyze and discuss with our client. It will take several
days for Ms. Maxwell to receive copies of these materials in the MDC. It will not be feasible for
her to receive and review these lengthy materials, discuss them with counsel, and then read and
provide comments on the draft replies in a week’s time.

       Under the Court’s original briefing schedule, the defendant’s pretrial motions were due on
December 21, 2020, the government’s response was due January 22, 2021, and the defendant’s
reply was due on February 5, 2021. (Dkt. 25). The Court agreed to move those deadlines by three
weeks because the government needed additional time to finish producing discovery. (Dkt. 72).
Under the revised briefing schedule, the defendant’s pretrial motions were due on January 11,
2020, the government’s response was due February 12, 2021, and the defendant’s reply was due
on February 19, 2021. (Id.). On January 5, 2021, at the defense’s request and with the consent of
the government, the Court agreed to modify the briefing schedule and set the current deadlines: the
defendant’s pretrial motions were due on January 25, 2021, the government’s response was due
February 26, 2021, and the defendant’s reply is due on March 5, 2021. (Dkt. 108).
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           We now respectfully request that the deadline for filing the defendant’s reply be moved to
  Monday, March 15, 2021. The next scheduled appearance before the Court is the first day of
  trial on July 12, 2021.

                                                            Sincerely,


                                                              /s/ Christian Everdell     .
                                                            Christian R. Everdell
                                                            COHEN & GRESSER LLP
                                                            800 Third Avenue, 21st Floor
                                                            New York, New York 10022
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  cc:    All Counsel of Record (By ECF)
